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 5
     Attorney for Defendant
 6   ZHI XUE
 7
 8                               UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            Criminal No. 2:06-cr-0390 EJG
12                  Plaintiff,
                                                          STIPULATION AND ORDER TO
13            v.                                          VACATE AND RESET COURT
                                                          APPEARANCE
14   ZHI XUE,
15              Defendant.
     _____________________________/
16
17
18            IT IS HEREBY STIPULATED by and between Assistant United States Attorney
19   Robert M. Twiss, counsel for plaintiff, and Douglas Horngrad, counsel for Zhi Xue, that,
20   with regard to defendant Zhi Xue only, Mr. Xue’s November 30, 2007, court appearance be
21   vacated and reset for January 25, 2008, at 10:00 a.m. for status, or as soon thereafter as is
22   convenient for the Court. The stipulated reset is requested because counsel for Mr. Xue is
23   evaluating his options and position in this case.
24            The court interpreter coordinator Yolanda Riley Portal has been notified and has
25   indicated that January 25, 2008, is an available date for the interpreter’s office.
26            IT IS FURTHER STIPULATED that time for trial under the Speedy Trial Act
27   continue to be excluded from November 30, 2007, through January 25, 2008, pursuant to
28   //
      Case 2:06-cr-00390-WBS Document 84 Filed 11/29/07 Page 2 of 2


 1   18 U.S.C. § 3161(h)(8)(A) & (B)(ii) and (iv), Local Codes T-2 and T-4.
 2
 3   Dated: November 28, 2007                        /s/ Douglas Horngrad
                                                     DOUGLAS HORNGRAD
 4                                                   Attorney for Defendant
                                                     ZHI XUE
 5
 6
     Dated: November 28, 2007                        /s/ Robert Twiss
 7                                                   ROBERT M. TWISS
                                                     Counsel for Plaintiff
 8
 9
10         IT IS SO ORDERED
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12
13
     Dated: November 28, 2007                /s/ Edward J. Garcia
14                                           HON. EDWARD J. GARCIA
                                             Senior United States District Court Judge
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